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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                TAMPA DIVISION


 CLARENCE JENKINS,

        Petitioner,

 v.                                                    CASE NO: 8:04-CV-2546-T-30EAJ
                                                         Crim. Case No: 8:03-CR-184-T-30EAJ
 UNITED STATES OF AMERICA,

       Respondent.
 ____________________________________/


            ORDER and NOTICE OF EVIDENTIARY HEARING

        THIS CAUSE comes before the Court upon Petitioner’s Motion to Vacate, Set Aside,

 or Correct Sentence Pursuant to 28 U.S.C. §2255 (Dkt. #1), Petitioner's Memorandum in

 support thereof (Dkt. #2), the Government's Response (Dkt. #5), and Petitioner's Reply (Dkt.

 #8). Upon review of the briefs and the underlying criminal proceedings, this Court

 determines that grounds two, three, four and five should be summarily denied, but that it is

 necessary to have an evidentiary hearing concerning the factual basis concerning ground one.

                                     BACKGROUND

        On June 26, 2003, Petitioner, Clarence Jenkins (hereinafter referred to as “Jenkins”

 or “Petitioner”) and thirteen others were indicted with one count of conspiracy to possess

 with the intent to distribute five kilograms or more of a mixture or substance containing a

 detectable amount of cocaine and fifty (50) grams of a mixture or substance containing a

 detectable amount of cocaine base in violation of 21 U.S.C. §846, 841(b)(1)(A)(ii) and
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 841(b)(1)(A)(iii). On August 25, 2003, Petitioner signed a written plea of guilty admitting

 the following facts:

        The defendant was a member of a conspiracy that involved five (5) kilograms
        or more of cocaine and fifty (50) grams or more of cocaine base. Specifically,
        from September, 1997 until the early months of 2003, law enforcement
        discovered that an organization was distributing kilogram quantities of cocaine
        and cocaine base in the Sarasota/Bradenton area. As the investigation into the
        organization progressed, law enforcement discovered from toll records that in
        late 2002, and early 2003, there was a large volume of telephonic contact
        amongst a number of members of the conspiracy including Joslyn Walker;
        Diamond Mills; Patrick Lavender; Kenith Turner; Wanetta Parker; Courtney
        Allen; Sean Butler; and Kelvin Turner. Thus, in April, 2003, law enforcement
        conducted both federal and state wire taps.

        Based upon the investigation, law enforcement discovered that Joslyn Walker
        was distributing multi-kilogram quantities of powder cocaine from South
        Florida to Sarasota on a regular basis. Walker would supply Diamond Mills;
        Patrick Lavender; Kenith Turner; Sean Butler; Courtney Allen; and other
        members of the conspiracy with kilogram quantities of cocaine. The members
        of the conspiracy who would obtain cocaine from Walker would either sell the
        cocaine or use the cocaine to manufacture cocaine base and then sell the
        cocaine base.

        The federal and state wire taps demonstrated that, amongst others, Wanetta
        Parker and Kelvin Turner were obtaining cocaine and/or cocaine base from
        Mills and then distributing it to other members of the conspiracy. Also, the
        federal and state wire taps demonstrated that Kenith Turner was supplying
        Troy Tasher; Clarence Jenkins; Jeremie Johnson; and Clifton Johnson with
        cocaine and/or cocaine base; and that Cedric White supplied Kenith Turner
        with one kilogram of cocaine.

        During the investigation law enforcement conducted a number of controlled
        buys for cocaine and/or cocaine base with various members of the
        organization, including Patrick Lavender; Kelvin Turner; Calvin Tuner (sic);
        Courtney Allen; Sean Butler; and Clifton Johnson.

        In early May, 2003, at the conclusion of the state and federal wire taps, law
        enforcement arrested Walker; Mills; Lavender; Kenith Turner; and Parker.
        During the arrests law enforcement conducted search warrants at Mills and

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       Lavender’s residence, Kenith Turner’s residence, and Parker’s residence.
       Located at Mills and Lavender’s residence was approximately 29 ounces of
       cocaine, one ounce of cocaine base, wrappings four (4) for kilograms of
       cocaine, and approximately $50,000.00 in U.S. currency bundled with rubber
       bands. Located in Kenith Turner’s residence was approximately $41,000.00
       of U.S. currency, approximately seven (7) kilogram wrappings, and two Pyrex
       cooking pots which tested positive for cocaine residue. Located in Parker’s
       residence was a quantity of cocaine base, along with pots and pans used to
       cook cocaine base.

       A variety of members of the conspiracy made statements to law enforcement
       regarding the conspiracy. Specifically, post-Miranda, Walker stated that on
       the day of his arrest he traveled to Sarasota from South Florida to deliver one
       (1) kilogram of cocaine to Mills, and further admitted that he had made prior
       trips to Sarasota to deliver cocaine. Kenith Turner, during a post-Miranda
       interview, stated that he was out of cocaine and he was intending to purchase
       two (2) kilograms of cocaine from Mills, and that on the day of his arrest he
       had previously purchased one (1) kilogram of cocaine from Mills at Mills’
       residence when Walker arrived. Parker stated that she sells cocaine for Mills,
       and that she is paid based upon the amount of cocaine she sells. Further other
       members of the conspiracy admitted to selling cocaine and/or cocaine base,
       including Sean Butler; Courtney Allen; Clarence Jenkins; Calvin Turner; and
       Kelvin Turner.


       On September 3, 2003, Petitioner entered a plea of guilty in open court in front of the

 Magistrate Judge and was subsequently sentenced by this Court on December 12, 2003.

 Judgment was entered December 16, 2003, which became final on December 31, 2003. On

 November 22, 2004, Petitioner timely filed this motion to vacate his sentence raising the

 following five grounds:

 Ground One:         Counsel was ineffective for failing to file a notice of appeal for
                     defendant when defendant had instructed counsel to do so.

 Ground Two:         Guilty plea involuntarily entered where counsel provided ineffective
                     assistance in advising defendant the nature of the charges in which
                     defendant was pleading.

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 Ground Three:          Counsel was ineffective for failing to object to defendant’s Fifth and
                        Sixth Amendment rights being violated by the indictment not including
                        defendant’s prior convictions within the indictment and the
                        enhancement not being found beyond a reasonable doubt standard in
                        order to sentence defendant as a career offender in light of Apprendi v.
                        New Jersey.

 Ground Four:           Defendant’s appeal waiver was entered involuntarily as a result of
                        ineffective assistance of counsel.

 Ground Five:           Counsel was ineffective for failing to argue that (for) Apprendi
                        purposes, the maximum sentence to be used is the maximum sentence
                        a judge may impose under the sentencing guidelines and not the
                        maximum sentence under the statute, for the career offender provisions.

                                         DISCUSSION

 Ground One:            Counsel was ineffective for failing to file a notice of appeal for
                        defendant when defendant had instructed counsel to do so.

          In support of ground one, Petitioner asserts that “(a)t the conclusion of sentencing in

 this case, defendant instructed counsel to file an appeal on the behalf of defendant.”

          Whether defendant told counsel to file an appeal within the ten day period is a factual

 issue that must be resolved by an evidentiary hearing. See Gomez-Diaz v. United States, 433

 F. 3d 788 (11th Cir. 2005). Therefore, an evidentiary hearing will be scheduled to resolve this

 issue.

 Ground Two:            Guilty plea involuntarily entered where counsel provided ineffective
                        assistance in advising defendant the nature of the charges in which
                        defendant was pleading.

          In support of ground two, Petitioner contends that his counsel failed to advise him

 that in order for him to be guilty of conspiracy he must have been in an agreement to

 distribute five kilograms of cocaine which was the object of the conspiracy. Further, he

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 contends that the Court, at the plea hearing on September 3, 2003, failed to state a sufficient

 factual basis for his guilty plea.

        A guilty plea is valid when a court adequately explains to a defendant the elements

 of the charge and the factual basis which the government contends will be proven at trial.

 Contrary to Petitioner’s assertions, that was done in this case. At the change of plea hearing,

 the Magistrate Judge explained as follows:

                THE COURT: All right. I’m going to go over the plea agreement, but
        I think what I’m going to do first is after we talk about the charge and
        representation by counsel, I’m going to go right into the factual basis so that
        if there are any things we need to address, then we can do that at the outset.

               This plea agreement provides that each of you is going to plead guilty
        to Count 1 of the Superseding Indictment which I’m going to describe. That
        Superseding Indictment returned on June 26th of this year alleges that from an
        unknown date, but at least in or around September of 1997, through on or
        about May 6, 2003 in Sarasota County, in the Middle District of Florida and
        elsewhere, each of you three and a number of other individuals, the
        Defendants, did knowingly and willfully combine, conspire, confederate and
        agree with each other and other persons known and unknown to the Grand
        Jury to possess with intent to distribute five kilograms or more of a substance
        containing a detectable amount of cocaine, a Schedule 2 controlled substance,
        and to possess with intent to distribute 50 grams or more of a substance
        containing a detectable amount of cocaine base, also known as crack, a
        controlled substance, in violation of Title 21, United States Code, Sections 846
        and 841. Do each of you understand what this charge is about?

                THE DEFENDANT MILLS:                Yes, Your Honor.

                THE DEFENDANT TURNER:               Yes, ma’am.

                THE DEFENDANT JENKINS:              Yes, ma’am.

               THE COURT: Have you had a chance to review the Indictment and
        discuss your case fully with your attorney?


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              THE DEFENDANT MILLS:                Yes, Your Honor.

              THE DEFENDANT TURNER:               Yes.

              THE DEFENDANT JENKINS:              Yes, ma’am.

              THE COURT: Have you had enough time with your attorney to
       decide what’s best for you?

              THE DEFENDANT MILLS:                Yes, Your Honor.

              THE DEFENDANT TURNER:               Yes.

              THE DEFENDANT JENKINS: Yes, ma’am.

              THE COURT: Okay. I want to be sure about that. Is there anybody
       who needs to talk to his attorney now or wants to put this off for another days
       ‘cause you need more time with your attorney? Anybody who needs more
       time?

              THE DEFENDANT MILLS:                No, Your Honor.

              THE DEFENDANT TURNER:               No.

              THE DEFENDANT JENKINS:              No, ma’am

                                            ...

              THE COURT: Now, in order to prove this drug conspiracy against
       you, even if you plead guilty, the Government has to show me facts that show
       that you’ve committed this crime.

              Now, the essential elements of a drug conspiracy are a showing that two
       or more people in some way came to a mutual understanding to try to
       accomplish a common and unlawful plan as alleged in the Superseding
       Indictment.

              Here, that plan was either the possession with intent to distribute five
       kilograms or more of cocaine, or the possession with intent to distribute 50
       grams or more of crack cocaine. It could have been both, both types of crack

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       cocaine. It could have been both, both types of cocaine or it could have been
       one or the other.

              The Government has to show that you, the Defendant, knowing the
       unlawful purpose of the plan, willfully joined in it. And the Government has
       to show that the person you conspired with, at least one of those people, was
       not a Government agent or informant, but was someone who shared your
       criminal intent. Do you understand what these things mean, Mr. Mills?

              THE DEFENDANT MILLS: Yes, ma’am.

              THE COURT: Mr. Turner?

              THE DEFENDANT TURNER: Yes, ma’am.

              THE COURT: And Mr. Jenkins.

              THE DEFENDANT JENKINS: Yes, ma’am.

              THE COURT: Okay. Do we have a common factual basis?

              MR. PORCELLI: Yes, Your Honor.

              THE COURT: All right. I want you to listen very carefully to what
       the prosecutor says are the facts in support of the charge against you,
       particularly with regard to your involvement.

              Now, I realize that each of you may not know precisely what the other
       Defendants did, but with regard to your involvement, I’m going to be asking
       you if you have any disagreement with any of these facts that you hear from
       the prosecutor, so please listen.

                MR. PORCELLI: Your Honor, if the United States - - the United
       States would be able to establish beyond a reasonable doubt if this case went
       to trial that these Defendants were members of a conspiracy that involved five
       kilograms or more of cocaine and/or 50 grams or more of cocaine base.

              Specifically, from September, 1997 until the early months of 2003, law
       enforcement discovered that an organization was distributing kilogram
       quantities of cocaine and cocaine base in the Sarasota/Bradenton area.


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              As the investigation of the organization progressed, law enforcement
       discovered from toll records that in late 2002 and early 2003, there was a large
       volume of telephonic contact amongst a number of members of the conspiracy,
       including Joslyn Walker, Damond Mills, Patrick Lavender, Kenith Turner,
       Wanetta Parker, Courtney Allen, Sean Butler and Calvin Turner.

              Thus, in April, 2003, law enforcement conducted both Federal and State
       wiretaps. Based upon the investigation, law enforcement discovered that
       Joslyn Walker was distributing multi-kilogram quantities of powder cocaine
       from South Florida to Sarasota on a regular basis.

              Walker would supply Damond Mills, Patrick Lavender, Kenith Turner,
       Sean Butler, Courtney Allen and other members of the conspiracy with
       kilogram quantities of cocaine. The members of the conspiracy who would
       obtain cocaine from Walker would either sell the cocaine or use the cocaine
       to manufacture cocaine base and then sell the cocaine base.

              Federal and State wiretaps demonstrated that amongst others, Wanetta
       Parker and Calvin Turner would obtain cocaine and/or cocaine base from Mills
       and then distribute it to other members of the conspiracy.

             Also, the Federal and State wiretaps demonstrated that Kenith Turner
       was supplying Troy Tasher, Clarence Jenkins, Jeremie Johnson and Clifton
       Johnson with cocaine and/or cocaine base, and that Cedric White supplied
       Kenith Turner with one kilogram of cocaine.

              During the investigation, law enforcement conducted a number of
       controlled buys for cocaine and/or cocaine base with various members of the
       organization including Patrick Lavender, Calvin Turner, Kelvin Turner,
       Courtney Allen, Sean Butler and Clifton Johnson.

              In early May, 2003, at the conclusion of the State and Federal wiretaps,
       law enforcement arrested Walker, Mills, Lavender, Kenith Turner and Parker.
       During the arrest, law enforcement conducted search warrants at Mills’ and
       Lavender’s residence, Kenith Turner’s residence and Parker’s residence.
       Located at Mills’ and Lavender’s residence was approximately 29 ounces of
       cocaine, one ounce of cocaine base, wrappings for four kilograms of cocaine,
       and approximately $50,000 in U. S. Currency bundled with rubberbands.

              Located in Kenith Turner’s residence was approximately $41,000 of U.
       S. currency, approximately seven kilogram wrappers, two Pyrex cooking pots

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        which tested positive for cocaine residue. Located in Wanetta Parker’s
        residence was a quantity of cocaine base, along with pots and pans used to
        cook cocaine base.

                A variety of the members of the conspiracy made statements to law
        enforcement regarding the conspiracy. Specifically, post-Miranda, Mr. Walker
        stated that, one, on the day of his arrest, he traveled to Sarasota from South
        Florida to deliver one kilogram of cocaine to Mr. Mills, and further admitted
        that he had made prior trips to Sarasota to deliver cocaine.

               Kenith Turner during a post-Miranda interview stated he was out of
        cocaine and he was intending to purchase two kilograms of cocaine from Mr.
        Mills, and that on the day of his arrest, he previously purchased one kilogram
        of cocaine from Mr. Mills at Mr. Mills’ residence when Walker arrived.

              Ms. Parker stated that she sells cocaine for Mills and that she is paid
        based upon the amount of cocaine she sells.

               Further, other members of the conspiracy admitted to selling cocaine
        and/or cocaine base, including Sean Butler, Courtney Allen, Clarence Jenkins,
        Calvin Turner and Kelvin Turner.

                                             ...


               THE COURT: Mr. Jenkins, did you hear the facts that the prosecutor
        talked about?

               THE DEFENDANT JENKINS: Yes, ma’am.

               THE COURT: Do you have any disagreement with any of those facts?

               THE DEFENDANT JENKINS: No, ma’am.

               THE COURT: All right. So are those facts true?

               THE DEFENDANT JENKINS: Yes, ma’am.

 (Guilty plea hearing transcripts, pages 13-20.)



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         The statements made by Petitioner in open court are presumed to be true. United

  States v. Gonzalez-Mercado, 808 F.2d 796 (11th Cir. 1987). A defendant will not be heard

  to disavow them at some later time in an attempt to overcome his guilty plea. Harvey v.

  United States, 850 F.2d 388 (8th Cir. 1988). Here, Petitioner was properly advised of both

  the elements of the offense and the underlying factual basis, and he acknowledged his

  understanding and agreement. His bald assertions of misunderstanding are unavailing.

  Harvey, at 396. Therefore, ground two will be denied.

  Ground Three:          Counsel was ineffective for failing to object to defendant’s Fifth and
                         Sixth Amendment rights being violated by the indictment not including
                         defendant’s prior convictions within the indictment and the
                         enhancement not being found beyond a reasonable doubt standard in
                         order to sentence defendant as a career offender in light of Apprendi v.
                         New Jersey.

         In support of ground three, Petitioner argues:

         Counsel was clearly ineffective because he did not contest the district court’s
         enhancing defendant’s sentence under the sentencing guidelines career
         offender section (4B1.1) when the indictment did not make mention of any of
         defendant’s prior convictions nor did counsel request the court to have the
         government prove beyond a reasonable doubt that the prior convictions are
         valid before the court enhanced defendant. . . . This Court lacks the authority
         to enhance a defendant’s sentence beyond the statutory maximum based on
         facts that were not proven to the jury or expressly admitted by the defendant.
         See, Apprendi v. New Jersey, 530 U.S. 466, 147 L.Ed. 2d 435 (2000).

         This argument is what is commonly referred to as the Apprendi/Blakely/Booker

  argument.1 This argument fails for several reasons: Petitioner waived this argument in his



         1
           See Apprendi v. New Jersey, 530 U.S. 466 (2000), Blakely v. Washington, 542 U.S. 296 (2004),
  and United States v. Booker, 543 U.S. 220 (2005).

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  plea agreement, this argument does not apply retroactively to his sentence, and it does not

  apply to enhancements based on prior convictions.

         In his plea agreement, Petitioner waived the right to appeal his sentence, directly or

  collaterally, on any ground except for an upward departure from the sentencing guidelines,

  a sentence above the statutory maximum, or a sentence in violation of the law apart from the

  sentencing guidelines. (See paragraph B.5 of the written plea agreement, CR Dkt. #161.)

         The Eleventh Circuit has held that an appeal waiver with language identical to that

  agreed to by Petitioner was broad enough to include an Apprendi/Blakely/Booker claim.

  Further, it found that none of the listed exceptions to the waiver applied. United States v.

  Grinard-Henry, 399 F.3d 1294 (11th Cir. 2005), cert. denied, 544 U.S. 1041 (2005). Such a

  “(w)aiver will be enforced if the government demonstrates either (1) the district court

  specifically questioned the defendant about the waiver during the plea colloquy, or (2) the

  record clearly shows that the defendant otherwise understood the full significance of the

  waiver.” United States v. Benitez-Zapata, 131 F.3d 1444, 1446 (11th Cir. 1997). Here, the

  Court specifically questioned Petitioner about his understanding of the plea waiver:

                THE COURT: And finally, there’s a provision which limits your right
         to appeal your sentence and that’s also part of this written plea agreement.
         That provision is called appeal of sentence waiver. And it’s around page 13.

                 That provision states that you understand that you’re going to receive
         a sentencing - - a sentence which is subject to the Federal Sentencing
         Guidelines. And that you understand that such a sentence does not provide for
         parole.

               This provision states that you agree as part of your plea agreement with
         the Government to limit your right to appeal to three things. The only

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       guidelines issue is an upwards departure from the guidelines if that happens.
       You can also appeal a sentence which is above the statutory maximum
       penalties and you can appeal a sentence which violates the law apart from the
       sentencing guidelines.

              What this means, though, is that you cannot appeal or challenge your
       sentence before either the trial Court or a higher Court on any issue relating to
       the sentencing guidelines unless that concerns an upwards departure. Do each
       of you understand this?

              THE DEFENDANT MILLS: Yes, ma’am.

              THE DEFENDANT TURNER: Yes, ma’am.

              THE DEFENDANT JENKINS: Yes, ma’am.

              THE COURT: Have you had a chance to talk with your attorney about
       this specific provision?

              THE DEFENDANT MILLS: Yes, ma’am.

              THE DEFENDANT TURNER: Yes, ma’am.

              THE DEFENDANT JENKINS: Yes, ma’am.

             THE COURT:           Mr. Mills, do you make the waiver of appeal
       knowingly?

              THE DEFENDANT MILLS: Yes, ma’am.

              THE COURT: Do you make it voluntarily?

              THE DEFENDANT MILLS: Yes, ma’am.

             THE COURT:           Mr. Turner, do you make the waiver of appeal
       knowingly?

              THE DEFENDANT TURNER: Yes, ma’am.

              THE COURT: And do you make it voluntarily?


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                THE DEFENDANT TURNER: Yes, ma’am.

               THE COURT:           Mr. Jenkins, do you make the waiver of appeal
         knowingly?

                THE DEFENDANT JENKINS: Yes, ma’am.

                THE COURT: And do you make it voluntarily?

                THE DEFENDANT JENKINS: Yes, ma’am.

  (Guilty plea hearing transcript, pages 26-28.)

         A defendant’s waiver of his right to appeal “directly or collaterally” includes both a

  direct appeal and a collateral attack in a §2255 proceeding. See Williams v. United States,

  396 F.3d 1340 (11th Cir. 2005), cert. denied, ____ U.S. ____, 126 S.Ct. 246 (2005).

  Therefore, Petitioner has effectively waived this argument and cannot now bring it in this

  §2255 motion.

         Even if the Apprendi/Blakely/Booker argument were not waived, it would still fail

  because it does not apply retroactively to Petitioner’s sentence. The reasoning underlying

  Apprendi and Blakely was applied by the U. S. Supreme Court in Booker to the federal

  sentencing guidelines. In Booker, the Supreme Court struck certain provisions in the federal

  sentencing guidelines to make it clear that they would be advisory. It is the mandatory nature

  of sentencing guidelines that make them unconstitutional if a sentencing court used facts not

  found by the jury or admitted by the defendant in fashioning a sentence. But the Booker

  decision is not retroactive to cases, like Petitioner’s, that were final and on collateral review

  at the time of the decision. Varela v. United States, 400 F.3d 864 (11th Cir. 2005).


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  Petitioner’s sentence was final on December 31, 2003, and these collateral review

  proceedings were pending when Booker was decided in January, 2005. Therefore, the

  Apprendi/Blakely/Booker argument provides no relief to Petitioner.

         And, even had the Apprendi/Blakely/Booker argument applied, it would not have

  affected the career offender enhancement about which Jenkins complains. Prior convictions,

  both the fact of their existence and the quality of the offense, may be used when sentencing

  a defendant under the Guidelines. Almendarez-Torres v. United States, 523 U.S. 224 (1998).

  It is not necessary for the government to allege the existence or nature of the prior offenses

  in the indictment and they need not be proven beyond a reasonable doubt before a district

  court may use them for purposes of enhancing a sentence. United States v. Marseille, 377

  F.3d 1249 (11th Cir. 2004). This reasoning was left undisturbed by Apprendi, Blakely and

  Booker. U.S. v. Shelton, 400 F.3d 1325 (11th Cir. 2005).

         For all of the foregoing reasons, ground three will be denied.

  Ground Four:         Defendant’s appeal waiver was entered involuntarily as a result of
                       ineffective assistance of counsel.

         In support of ground four, Petitioner argues the following:

         It is the assertion of the defendant that because defendant attacks the entire
         Sentencing Guidelines as being unconstitutional, the appeal waiver is
         unforceable (sic) in this case and that absence (sic) the advise of counsel,
         defendant would not have agreed to waive his rights to challenge a sentence
         in violation of the law.

         The Eleventh Circuit has addressed this issue directly and has found it to be without

  merit. An appeal waiver just like Petitioner’s was found valid and enforceable in United


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  States v. Grinard-Henry, 399 F.3d 1294 (11th Cir. 2005). Therefore, ground four will be

  denied.

  Ground Five:         Counsel was ineffective for failing to argue that (for) Apprendi
                       purposes, the maximum sentence to be used is the maximum sentence
                       a judge may impose under the sentencing guidelines and not the
                       maximum sentence under the statute, for the career offender provisions.

        In support of ground five, Petitioner makes the following argument:

                After the wake of Blakely v. Washington, ____ U.S. ____, 124 S.Ct.
        2531, ____ L.Ed. 2d ____, 2004 WL 1402697 (U.S. June 25, 2004), it is clear
        that the decision rendered in Apprendi v. New Jersey, 530 U.S. 466, 490, 120
        S.Ct. 2348, 147 L.Ed. 2d 435 (2000), is that the maximum sentence a judge
        may impose is the maximum a judge impose (sic) solely on the basis of the
        facts reflected in the jury verdict alone, or admitted by the defendant because
        the relevant statutory maximum sentence allowed in this case was the
        maximum sentence the judge could impose without any additional findings.
        It was clear error for the court to impose defendant’s sentence as a career
        offender calculating from the relevant statutory maximum authorized for the
        offense rather than the maximum authorized by law.

                Specifically, in this case the court founds (sic) that the relevant statutory
        maximum sentence to be imposed pursuant to the career offender provisions
        was to be based on a life statutory maximum penalty. (See, P.S.I. Report at
        pag. 3 & 4, paragraph 26). However, it is the contention of the defendant that
        the relevant statutory maximum for the career offender purposes should have
        been calculated from defendant’s maximum sentencing guideline range for the
        drugs involved with defendant’s offense of conviction. In this case the
        relevant statutory maximum that should have been applied for the career
        offender purposes should have been the maximum sentence of 150 months
        (Twelve years, six months) given the defendant’s base offense level of 26 -
        Category VI as to count one of the superseding indictment (26 is the base
        offense level when the defendant is involved in at least 500 grams but less than
        2 kilograms of cocaine).

               Because the career offender provisions are tied directly to the offense
        statutory maximum, in this case defendant’s maximum base offense level
        should have been level 24 - Category VI (100-125 months imprisonment), this
        be were (sic) defendant’s statutory maximum sentence was 10 years or more,

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         but less than 15 years. See, e.g. ... § 4B1.1, Career Offender Provision:

         Offense Statutory Maximum                                Offense Level

         (A)    Life                                                     37
         (B)    25 years or more                                         34
         (C)    20 years or more, but less than 25 years                 32
         (D)    15 years or more, but less than 20 years                 29
         (E)    10 years or more, but less than 15 years                 24
         (F)    5 years or more, but less than 5 years                   17
         (G)    more than 1 years, but less than 5 years                 12

         First, this argument deals with Petitioner’s guideline sentence and does not come

  within any of the three exceptions to his appeal waiver. Therefore, this argument is barred

  by his appeal waiver as explained above.

         Second, this argument fails because it is based on a misperception of the definition

  of the term “statutory maximum.” Petitioner is defining that term as being the maximum

  guideline sentence prior to the application of the career offender enhancement. This is not

  the proper definition. The Eleventh Circuit has held that the term “statutory maximum” in

  a plea agreement permitting appeal in the limited circumstance of a sentence exceeding the

  statutory maximum, refers to “the longest sentence that the statute which punishes a crime

  permits a court to impose, regardless of whether the actual sentence must be shortened in a

  particular case because of the principles involved in the Apprendi/Booker line of decisions.”

  United States v. Rubbo, 396 F.3d 1330 (11th Cir. 2005). See also, Grinard-Henry at 1296.

         For these reasons, ground five will be denied.




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                                           CONCLUSION

           It is therefore ORDERED AND ADJUDGED that:

           1.        Grounds two, three, four and five are hereby DENIED.

           2.        As to ground one, an evidentiary hearing is hereby scheduled for FRIDAY,

  AUGUST 25, 2006, AT 9:00 A.M. at the Sam Gibbons U. S. Courthouse, 801 North

  Florida Avenue, Courtroom #13A, Tampa, Florida 33602. Time reserved: One (1) hour.

           3.        Counsel for the government shall take appropriate steps to ensure the

  attendance of the Petitioner at the hearing as well as his former counsel, ELTON J.

  GISSENDANNER, III, 1726 East Seventh Avenue, Tampa, Florida 33605, and any other

  witnesses deemed necessary to address the issue of whether Mr. Gissendanner was instructed

  by Petitioner to file an appeal in this case within the ten day period following sentencing.

           4.        Magistrate Judge Elizabeth Jenkins is hereby requested to appoint Petitioner

  new counsel for the purposes of the hearing, said counsel to secure the attendance of any

  witnesses deemed necessary by Petitioner to address this issue.

           DONE and ORDERED in Tampa, Florida on June 29, 2006.




  Copies furnished to:
  Magistrate Judge Elizabeth Jenkins
  United States Marshal
  Counsel/Parties of Record
  Attorney Elton J. Gissendanner, III
  F:\Docs\2004\04-cv-2546.deny 2255.wpd




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